Case: 1:23-cv-16634 Document #: 6 Filed: 01/24/24 Page 1 of 1 PagelD #:19

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:23-CV-16634.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for County of Cook
.. was recieved by me on 1/23/2024:

O
O

a

0
oO

Date:

| personally served the summons on the individual at (place) on (date) ; or

| taft the summons at the individual's residence or usual place of abode with (name) , a person of suitable age and
discretion who resides there, on , and mailed a copy to the individual's last known address; or

| served the summons on County of Cook, who is designated by law to accept service of process on behalf of County
of Cook at 50 W Washington St, Chicago, IL 60602 on 01/23/2024 at 3:54 PM: or

| returned the summons unexecuted because ; or

Other (specify)

My fees are $ 0 for travel and $ 85.00 for services, for a total of $ 85.00.

| declare under penalty of perjury that this information is true.

Christopher Rodriquez

Printed name and ttle
227 W. Monroe Street
Sulte 2117
Chicago, IL 60606
Server's address

Additional information regarding attempted service, etc:

| delivered the documents to County of Cook c/o Rafael Forbes - employee, at 50 W. Washington, Room 701, Chicago,
IL 60602 Identified as the Named Defendant with Identity confirmed by subject reaching for docs when named. The
Individual accepted service with direct delivery. The individual appeared to be a blonde-halred white male contact 25-
35 years of age, 5°8"-5"'10" tall and weighing 180-200 Ibs with glasses.

_. nn iif ——
